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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    TWINS SPECIAL CO., LTD., a private              Case No.: 23-cv-223-JO-DDL
      limited company organized under the             Related Case No.: 21-cv-221-JO-DDL
12
      laws of Thailand,
13                              Plaintiff,            ORDER GRANTING DEFENDANTS’
                                                      MOTION TO CONTINUE HEARING
14    v.                                              ON PLAINTIFF’S MOTION FOR
15                                                    SANCTIONS
      TWINS SPECIAL, LLC, NICHOLAS
16    MECHLING, an individual,
                                                      [Dkt. No. 198]
      CHRISTOPHER MECHLING, an
17
      individual, TWINS SPECIAL, an
18    unincorporated general partnership, and
      DOES 1-10, inclusive,
19
20                              Defendants.
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22          On June 6, 2024, attorney Stephen Morris entered his appearance as counsel for
23    Defendants. Dkt. Nos. 196, 197. Defendants now move to continue the hearing on
24    Plaintiff’s Motion for Sanctions, currently set for June 11, 2024, given defense counsel’s
25    recent appearance in the case and the fact that counsel will be on a family vacation on
26    June 11. Dkt. No. 198.
27    ///
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 1          Good cause appearing, the Court GRANTS Defendants’ Motion to Continue and
 2    ORDERS as follows:
 3          1.    Defendants must file any opposition to Plaintiff’s Motion for Sanctions by not
 4    later than June 28, 2024.
 5          2.    Plaintiff may file a reply brief by not later than July 8, 2024.
 6          3.    The Court will hold an in-person hearing on Plaintiff’s Motion for Sanctions
 7    on July 16, 2024, at 11:00 a.m. The Court will issue a separate order regarding the
 8    courtroom assignment prior to the hearing date.
 9          4.    The pretrial dates contained in the Amended Scheduling Order at
10    Dkt. No. 179 remain in effect. The Court reiterates its prior admonition that it “will not
11    grant further continuances of the pretrial schedule absent a showing of exceptional
12    circumstances.” Dkt. No. 179 at 2.
13          IT IS SO ORDERED.
14    Dated: June 7, 2024
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16                                            Hon. David D. Leshner
17                                            United States Magistrate Judge
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